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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                Eastern Division

Osvaldo Valdez
                                 Plaintiff,
v.                                                     Case No.: 1:20−cv−00388
                                                       Honorable Joan H. Lefkow
City of Chicago, et al.
                                 Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, January 23, 2020:


       MINUTE entry before the Honorable Joan H. Lefkow: Motion for extension of
time [7] is granted. Defendants shall answer or otherwise plead to the first amended
complaint by 2/21/2020. Motion hearing set for 1/29/2020 is stricken. Mailed notice (ags)




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